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SOUTHERN DISTRICT OF NEW YORK

 

WELLS FARGO BANK, NATIONAL
ASSOCIATION, as Trustee,
_ . . INTERPLEADER
Interpleader Plaintiff, z C()MPLAINT

- against -

   

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un v ruS\m KEMPNER CAPITn " L

MANAGEMENT LLC, WATERFALL ASSET
MANAGEMENT LLC, NORTHWESTERN
MUTUAL, DELAWARE INVESTMENTS, STS
PARTNERS FUND, LP, BEDFORD CMBS.
ACQUISITIONS LLC, CEDE & CO., as holder of
certain Certiticates and nominee name of The
Depository Trust Company, and DOES l through
50, holders of beneficial interests in the Certificates.

Interpleader Defendants.

 

Interpleader Plaintiff Wells Fargo Banl<, National Association (“Wells Fargo”), in its
capacity as trustee under the Pooling Agreement, dated as of July 24, 2006, by and between GS
Mortgage Securities Corporation II, as Depositor and Wells Fargo, as trustee (the “Pooling
Agreemen ”)1, alleges and states that:

INTRODUCTION

l. Wells F argo brings this interpleader action for the purpose of obtaining
adjudication of the Directing Securityholder’s right to exercise a Purchase Option in respect of
certain Di'sputed Assets (as defined below). Wells Fargo, Which serves as Trustee under the
Pooling Agreement, faces competing demands by the lnterpleader Defendants With respect to
Whether the current Directing Securityholder has the right to exercise the Purchase Option for the

Disputed Assets despite the predecessor Directing Securityholder’S waiver of its rights to do so.

 

l All capitalized terms used, but not.def'med, herein shallhave the meanings ascribed to them in the Pooling
Agreement.

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Wells Fargo has not taken a position with respect to the disputed issue that is the subject of this
Interpleader Complaint, and it has become apparent that it now cannot determine, without hazard
to itself, how to proceed on a going-forward basis.

JURISDICTION AND vENUE

2. This Court has subject matter jurisdiction over this action, pursuant to 28 U.S.C.
§ 1332, and other applicable law, because there is complete diversity of citizenship between the
parties hereto, and as demonstrated below, the amount in controversy exceeds $75,000 exclusive
of interest and costs and pursuant to 28 U.S.C. § 1335, and other applicable law, because this is a
civil action of interpleader or in the nature of interpleader, two or more adverse claimants are of
diverse citizenship, the amount of controversy exceeds $500.

3. Venue in this District is appropriate pursuant to 28 U.S.C. § 1397 because one or
' more defendants reside within this judicial district.

PARTIES

4. Wells Fargo is a national banking association with its main offlce in Sioux Falls,
South Dakota. Wells Fargo is acting solely in its capacity as Trustee under the Pooling
Agreement.

5. Interpleader Defendant Davidson Kempner Capital Management LLC
(“Davidson Kempner”) is, upon information and belief, a limited liability company formed under
New York law, with its principal place of business at 65 East 55th Street, New York, New York.
Upon information and belief, Davidson Kempner is a Holder of Class A-l Certiflcates.

6. Interpleader Defendant Waterfall Asset Management LLC (“Waterfall Asset”) is,

upon information and belief, a limited liability company formed under Delaware law, with its

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principal place of business at 1185 Avenue of the Americas, New York, New York. Upon
information and belief, Waterfall Asset is a Holder of Class A-l Certificates.

7. Interpleader Defendant Northwestern Mutual (“Northwestem”) is, upon
information and belief, a Wisconsin corporation, with its principal place of business at 720 East
Wisconsin Avenue, Milwaukee, Wisconsin. Upon information and belief, Northwestern is a
Holder of Class A-l Certiflcates.

8. Interpleader Defendant Delaware Investments a/k/a Delaware Management
Holdings (“Delaware lnvestments”) is, upon information and belief, a Delaware corporation,
with its principal place of business at 2025 Market Street, Philadelphia Pennsylvania. Upon
information and belief, Delaware lnvestments is a Holder of Class A-l, E, F and G Certificates.

9. Interpleader Defendant STS Partners Fund, LP (“STS,” and collectively with
Davidson Kempner, Waterfall Asset, Northwestern, and Delaware Investments, the “Obj ecting
Defendants”) is, upon information and belief, a Delaware limited partnership, with its principal
place of business at 1865 Ski Time Square, Suite 102, Steamboat Springs, Colorado. Upon
information and belief, STS is a Holder of Class A-l Certiticates.

10. Interpleader Defendant Bedford CMBS Acquisitions LLC (“Bedford”) is, upon
information and belief, a limited liability company formed under Delaware law. Upon
information and belief, Bedford is the current Directing Securityholder under the Pooling
Agreement.

ll. Interpleader Defendant Cede & Co. is, upon information and belief, the nominee
name of The Depository Trust Company, a limited purpose trust company organized under New

York banking law, with its principal place of business at 55 Water Street, New York, New York.

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Cede & Co. is the registered Holder of record of the Certificates. Upon information and belief,
Cede & Co. holds the Certificates for the ultimate benefit of others.

12. Interpleader Defendants Does l through 50 (the “Doe Defendants”) are, upon
information and belief, beneficial holders of the interests in the Certiticates, other than the
Objecting Defendants and Bedford, held by Cede & Co. With limited exception, Wells Fargo
does not know the names or true identities of the Doe Defendants

BACKGROUND

13. Wells Fargo serves as Trustee under the Pooling Agreement, pursuant to which
the Depositor conveyed to the Trustee, for the benefit of the REMICS and Certificateholders, all
of the Depositor’s right, title and interest in, to and under the Trust Estate. The Trust Estate
consisted of (i) the Pooled Certiticates listed on the Pooled Certificate Schedule and all amounts
received or receivable with respect thereto after the Trust Cut-Off Date, (ii) each Account and all
Eligible Investments, funds and other property credited thereto, (iii) the Pooled Certificate
Purchase and Sale Agreement (including the right to enforce all remedies directly against the
Seller), and (iv) all proceeds of the foregoing

14. Wells Fargo, in its capacity as Trustee, holds the Pooled Certiticates on behalf of
the Holders.

15. Section 7.13 of the Pooling Agreement provides that, in the event a Pooled
Certificate becomes a Defaulted Security or an Imminently Defaulted Security (as defined
therein), the Directing Securityholder will have an assignable Purchase Option to purchase such
Defaulted Security or lmminently Defaulted Security from the Trust at the Option Price. The
Option Price of a Defaulted Security or Imminently Defaulted Security is either, (i) if the Fair

Value has not yet been determined, the unpaid principal amount thereof plus accrued and unpaid

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interest thereon, or, (ii) if the Fair Value has been determined pursuant to § 7.13, the Fair Value.
Section 7. 13 hirther provides that “[i]f the Directing Securityholder has not provided notice to
the Trustee of its exercise of the Purchase Option within 10 Business Days of its receipt of notice
that a Pooled Certificate has become a Defaulted Security or lmminently Defaulted Security, the
Purchase Option calculated with respect to clause (i) above will be deemed irrevocably waived
with respect to such Defaulted Security or Imminently Defaulted Security, and if the Directing
Securityholder'does not provide notice to the Trustee of its exercise of the Purchase Option
within 10 Business Days of its receipt of notice of the determination of the Fair Value of such
Pooled Certificate, the Purchase Option will be deemed to be irrevocably waived with respect to
such Defaulted Security or Irnminently Defaulted Security.”
THE DISPUTE

16. Certain Pooled Certificates became Defaulted Securities (each a “Disputed

Asset” and collectively, the “Disputed Assets”), which are the subject of this dispute Upon

information and belief, the Disputed Assets consist of the following Defaulted Securities:

Cusip Bond Amount Default Date
05947UQA9 BACM 04-1 F 1,550,000 01/18/11
05947UQC5 BACM 04-1 G 1,550,000 01/18/11
05947UT24 BACM 05-3 G 10,000,000 11/19/09
073 83FER5 BSCMS 00-WF2 H 2,934,000 02/10/11
07383FES3 BSCMS 00-WF2 l 1,258,000 02/10/11
07383FYSl BSCMS 04-PWR3 H 5,000,000 07/18/12
161505FJ6 CCMSC 00-2 J 7,387,334 10/15/09
22540AJV1 CSFB l998-C2 H 11,185,000 02/25/08
22541QSQ6 CSFB 03~C4 J 4,500,000 12/10/ 10
337368AKO FUBOA 01-C1 J 2,000,000 07/02/ 10
396789LV9 GCCFC 05-GG5 G 17,951,000 06/23/ 10
36228CXK4 GSMS 06-GG6 G 16,009,000 09/03/09
46625YJS3 JPl\/ICC 05~Cll F 24,763,000 02/24/11
46625YYK3 JPMCC 05-LDP5 K 25,000,000 12/02/09
52108H7Hl LBUBS 05-C5 H 15,440,000 12/11/09
52108H7J7 LBUBS 05-C5 J 7,325,500 12/11/09

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59022HNK4 MLMT 05-LC1 F 1,000,000 05/05/ 10
59022HNL2 MLMT 05-LC1 G 4,000,000 05/05/ 10
60687UAM9 MLCFC 06-2 E 7,000,000 02/06/09
60687UAN7 MLCFC 06-2 F 4,000,000 02/06/09
61745M6T5 MSC 05-HQ6 H 13,000,000 03/12/10
92976BEG3 WBCMT 06-C23 G 10,000,000 02/11/09
92976BEJ7 WBCMT 06-C23 H 20,000,000 02/11/09
92976BEL2 WBCMT 06-C23 J 20,000,000 02/11/09
17. ln .luly 2013, the entity that was, at the time, the Directing Securityholder

requested a Fair Value determination for each of the Defaulted Securities in accordance with §
7.l3(ii), but failed to exercise its Purchase Option within ten Business Days.

18. On August 9, 2013, Bedford notified Wells Fargo that it had become the
Directing Securityholder.

19. On August 13, 2013, Bedford, in its capacity as Directing Securityholder,
requested the Fair Value of the Disputed Assets and certain other Defaulted Securities.

20. On August 20, 2013, Wells Fargo provided Bedford with notice of the Fair Value
of the Disputed Assets.

21. On August 21, 2013, Bedford, in its capacity as -Directing Securityholder,
notified Wells Fargo that it intended to exercise its Purchase Option with regard to the Disputed
Assets.

22. After Bedford notified Wells F argo of its intent to exercise the Directing
Securityholder’s Purchase Option in respect of the Disputed Assets, the Objecting Defendants
contacted Wells Fargo to obj ect. Upon information and belief, the Obj ecting Defendants take the
position that the Purchase Option was irrevocably waived because the Disputed Assets became
Defaulted Securities prior to Bedford’s delivery of the notice of its intent to exercise the
Purchase Option with respect thereto. Also upon information and belief, the Objecting

Defendants further take the position that Bedford is not entitled to exercise the Purchase Option

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with respect to the Disputed Assets because the Purchase Option with respect to such Defaulted
Securities was irrevocably waived by the failure of the then-Directing Securityholder to exercise
the Purchase Option within ten Business Days of receiving notice of the determination of the
Fair Value of the Disputed Assets.

23. A dispute thus exists among the various Holders with an interest in the Defaulted
Securities as to Bedford’s rights, as Directing Securityholder, to exercise the Purchase Option for
the Disputed Assets.

'24. Section 7.13 and other relevant provisions of the Pooling Agreement are
ambiguous with respect to Bedford’s right to exercise the Purchase Option with respect to the
Disputed Assets under the circumstances described herein. Wells Fargo, in its capacity as
Trustee, is unable to determine, without exposing itself to risk of liability, whether Bedford is
entitled to exercise the Purchase Option.

25. Wells Fa.rgo is ready and willing to treat the Disputed Assets in such manner as
the Court shall direct.

26. The above-entitled action is not brought by collusion with any of the Interpleader
Defendants.

PLEA FOR RELIEF
WHEREFORE, Wells Fargo asks this Court:
(i) To order Interpleader Defendants to interplead and to settle all claims regarding the
Directing Securityholder’s rights to exercise the Purchase Option in respect of the
Disputed Assets between themselves and any other persons who claim or may claim
an interest, beneficial or legal, in such proceeds;

(ii) To restrain Interpleader Defendants and all claiming through or acting with them, or

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claiming any interest in the Disputed Assets or the Directing Securityholder’s right in

respect thereof, from commencing or prosecuting any separate proceeding against

Wells Fargo concerning or relating to the issues in this action;

(iii) '1`0 award Wells Fargo its costs and disbursements, including legal fees and expenses,

with respect to this action and the distribution of the disputed proceeds;

(iv) To award Wells Fargo such other and further relief as the Court may deem just,

proper and equitable

Dated: New York, New York
August 23, 2013

By:

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